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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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PAULA HENRY,

                                                          Plaintiff,      STIPULATION OF
                                                                          VOLUNTARY DISMISSAL
                             -against-                                    WITH PREJUDICE

                                                                          Case No. 1:21-CV-05980-FB-
THE CITY OF NEW YORK, CORRECTION
                                                                          RLM
ASSISTANT COMMISSIONER AND E.E.O. OFFICER
KAMMAE     OWENS,     CORRECTION      E.E.O.
ATTORNEY INVESTIGATOR GREG CHEUNG,
CORRECTION     OFFICER    CLEON     WILEY,
CORRECTION     OFFICER    JOSHUA     MOYE,
CORRECTION OFFICER MIGUEL JIMENEZ,
CORRECTION OFFICER OHLYNN WRIGHT,
CORRECTION DEPUTY WARDEN LISA BARNABY,
CORRECTION WARDEN JEAN RENE, CORRECTION
ADMINISTRATIVE CAPTAIN RASHIDA SMITH,
CORRECTION DEPUTY COMMISSIONER SARENA
TOWNSEND, CORRECTION CAPTAIN TASHANA
LINDSAY-SMITH,     CORRECTION      CAPTAIN
YVETTE    WYNN,     CORRECTION     CAPTAIN
LATANYA PATILLO, CORRECTION OFFICER
CONROY MORGAN, CORRECTION SUPERVISOR
OF MECHANICS BRIAN FAHY, and JOHN AND JANE
DOES 1–8,

                                                       Defendants.
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        IT IS HEREBY STIPULATED AND AGREED, by and between the parties as

represented below, that, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

all assault, battery, and negligence claims asserted by Plaintiff Paula Henry in the above-captioned

action be, and hereby are, withdrawn, discontinued, and dismissed, with prejudice, and without

any costs, fees, or disbursements to any party.




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